     Case 4:93-cr-04028-WS-WCS       Document 887      Filed 10/24/06    Page 1 of 2




                                                                                  Page 1 of 2

                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION




UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                                                  4:93cr4028-WS

EZELL COLLINS,

                    Defendant.



                  ORDER ADOPTING THE MAGISTRATE JUDGE’S
                      REPORT AND RECOMMENDATION

       Before the court is the magistrate judge's report and recommendation (doc. 878)

docketed September 5, 2006. The magistrate judge recommends that the defendant's

motion for sentence credit be summarily dismissed. The defendant has filed no

objections to the report and recommendation.

       Upon review of the record, this court has determined that the report and

recommendation should be adopted.

       Accordingly, it is ORDERED:

       1. The magistrate judge's report and recommendation (doc. 878) is hereby

ADOPTED and incorporated by reference into this order.
    Case 4:93-cr-04028-WS-WCS        Document 887       Filed 10/24/06   Page 2 of 2




                                                                               Page 2 of 2

       2. The defendant’s motion for sentence credit (doc. 877) is hereby summarily

DISMISSED.

       3. The clerk shall enter judgment accordingly.

       DONE AND ORDERED this         24th   day of      October   , 2006.




                                        s/ William Stafford
                                        WILLIAM STAFFORD
                                        SENIOR UNITED STATES DISTRICT JUDGE




Case No. 4:93cr4028-WS
